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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

   MARCO PALLAZI AND PIERANGELA              No. 2:22-cv-06278-BRM-AME
   BONELLI,
                                                Document electronically filed
                           Plaintiff,
   v.

   CIGNA HEALTH AND LIFE
   INSURANCE COMPANY, JOHN OR
   JANE DOE 1 THROUGH 100,
   FICTITIOUS NAMES BEING
   NATURAL PERSONS AT PRESENT
   UNIDENTIFIED, XYZ CORPORATIONS
   1 THROUGH 100, FICTITIOUS NAMES
   BEING CORPORATIONS AT PRESENT
   UNIDENTIFIED, ABC ENTITIES 1
   THROUGH 100, FICTITIOUS NAMES
   BEING COMMERCIAL ENTITIES AT
   PRESENT UNIDENTIFIED.

                          Defendants.



    DEFENDANT CIGNA HEALTH AND LIFE INSURANCE COMPANY’S
    MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS
           PLAINTIFFS’ SECOND AMENDED COMPLAINT


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        Defendant Cigna Health and Life Insurance Company (“Cigna”) submits this

  brief in support of its Motion to Dismiss Plaintiffs’ Second Amended Complaint.

  For the reasons set forth below, Cigna respectfully requests that its Motion be

  granted and the Second Amended Complaint against it be dismissed in its entirety

  with prejudice.

                           PRELIMINARY STATEMENT
         Plaintiffs Marco Palazzi1 (“Pallazzi”) and Pierangela Bonelli’s (“Bonelli”,

  and collectively with Palazzi, “Plaintiffs”) third attempt to state a claim continues to

  fail, as have their other prior attempts. Plaintiffs have eliminated many of the

  admitted issues in their prior pleadings – they have abandoned their state law causes

  of action, which were preempted, as well as their fiduciary duty claim, which was

  duplicative of their ERISA benefits claim.

        Plaintiffs’ sole remaining cause of action asserted in the Second Amended

  Complaint is a claim for benefits due under ERISA. This cause of action should be

  dismissed, however, because Plaintiffs have failed to allege how the plan was

  violated and why they are entitled to reimbursement under the plan. The Second

  Amended Complaint seeks payment for services rendered by an out-of-network

  provider, but the plan clearly does not provide for out-of-network benefits. Plaintiffs


  1
   The case caption spells the first-named plaintiffs name as “Pallazi,” but Plaintiffs’
  SAC spells his name as “Palazzi.” We adopt the latter for the purposes of this
  Motion in deference to Plaintiffs. See ECF No. 38 at 2 n.3.

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  attempt to rely on a preauthorization program provision to create benefits where

  none exist, but this Court has already expressed skepticism as to whether Plaintiffs

  could plausibly ground their claims on this provision. Plaintiffs’ Second Amended

  Complaint fails to explain how this procedure supports a claim for benefits, and

  should now be dismissed with prejudice accordingly.

                              STATEMENT OF FACTS
        Plaintiffs allege that this lawsuit arises from Cigna’s alleged failure to pay for

  out of network medical services rendered to Bonelli.           See Second Amended

  Complaint, ECF No. 41 (“SAC”) ¶¶ 22, 31. Bonelli is a beneficiary of a health

  benefits plan administered by Cigna. SAC ¶¶ 6, 9.

        According to the SAC, Bonelli underwent surgery to treat a back condition on

  August 20, 2021. Id. ¶¶ 11, 19. The surgery was performed by an out-of-network

  provider, Dr. Roger Hartl, M.D. Id. ¶¶ 10, 12, 15. Plaintiffs allege that Bonelli’s

  out-of-network medical provider obtained authorization for Bonelli’s treatment, and

  that a representative of Cigna initially approved the services to be performed by

  Plaintiff. Id. ¶¶ 15-16. That authorization letter states “This letter isn’t a guarantee

  that your plan will pay for the services.” ECF No. 15 (Ex. A at 1).2 However, one



  2
   A court may consider a “document that a defendant attaches as an exhibit to a
  motion to dismiss if the plaintiff’s claims are based on the document.” Pension
  Benefit Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir.
  1993).
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  day later, and prior to the surgery, Cigna notified Bonelli that the initial

  authorization was sent in error.3 SAC ¶ 22; see also ECF No. 15 (Ex. B). Bonelli

  later underwent a medical procedure on August 20, 2021. SAC ¶ 19.

        The claim for the August 20, 2021 procedure was denied because Bonelli did

  not receive services from a participating provider in plaintiffs’ network and the plan

  did not have out of network benefits. Id. ¶ 19; see also id. ¶ 25. Plaintiffs allege

  they have received a bill from Weill Cornell Medical Center demanding payment of

  $37,607, but fail to allege that they have paid this amount and fail to explain the

  bill’s relevance to the surgery or Dr. Hartl. Id. ¶¶ 31-32.

        On August 29, 2022, Plaintiffs commenced this action by filing a Complaint

  against Cigna in New Jersey Superior Court. See ECF No. 1-1 at 4-12. Plaintiffs’

  initial Complaint asserted four causes of action: (i) Breach of Implied Contract; (ii)

  Breach of the Covenant of Good Faith and Fair Dealing; (iii) Promissory Estoppel;

  (iv) Negligent Misrepresentation. Id. On October 26, 2022, Cigna timely filed a

  Notice of Removal, removing this matter to this Court. ECF No. 1. On December



  3
    This Court may consider documents referenced in the SAC, and, in the case of the
  August 19, 2021 letter, ECF No. 15 (Ex. B), “to the extent [the documents] contradict
  the Complaint’s factual allegations, the documents will control.” Goldenberg v.
  Indel, Inc., 741 F.Supp. 2d 618, 624 (D.N.J. 2010) (citation omitted); see also Pickett
  v. Ocean-Monmouth Legal Servs., Inc., No. 11-6980, 2012 WL 1601003, at *4
  (D.N.J. May 7, 2012) (“[A] court must [not] turn a blind eye to the facts as shown
  in documents also appropriately considered in deciding a motion to dismiss if those
  facts directly contradict the conclusory allegations in the complaint.”).
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  28, 2022, Plaintiffs filed a First Amended Complaint to add two additional causes of

  action pursuant to ERISA. See FAC.

        Cigna moved to dismiss the FAC in its entirety on January 31, 2023. ECF

  No. 14, 15; see also ECF No. 26. The FAC was dismissed by the Hon. Michael

  Vazquez, U.S.D.J. on August 25, 2023. ECF No. 38 (“MTD Opinion”). Judge

  Vazquez held that Plaintiffs’ state law claims were preempted, and that the fiduciary

  duty claim was duplicative. Id. at 5, 7-8. Judge Vazquez further held that Plaintiffs

  failed to state a claim for benefits due under ERISA because the FAC failed to allege

  how the plan was violated and why they are entitled to further reimbursement under

  the plan. Id. at 5, 7. The Court also expressed skepticism as to Plaintiffs’ ability to

  rely on the “Medical Management” provision of the plan to support their cause of

  action. Id. at 7 n. 11.

        Plaintiffs filed their SAC on September 21, 2023. ECF No. 41. The SAC

  asserts a single cause of action for benefits due under ERISA. Id. ¶¶ 33-35. This

  claim fails for all the same reasons as Plaintiffs’ prior pleading and the Court should

  now dismiss the SAC with prejudice.




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                                      ARGUMENT

  I.    PLAINTIFFS’ SECOND AMENDED COMPLAINT FAILS TO STATE
        A CLAIM.

        A.     Legal Standard
        To avoid dismissal under Rule 12(b)(6), the allegations of the complaint must

  “raise a right to relief above the speculative level,” Twombly, 550 U.S. at 555, and

  furnish    “more    than    an   unadorned,     the-defendant-unlawfully-harmed-me

  accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A pleading, in other

  words, must contain “enough facts to state a claim to relief that is plausible on its

  face.” Twombly, 550 U.S. at 570. “‘A claim has facial plausibility when the plaintiff

  pleads factual content that allows the court to draw the reasonable inference that the

  defendant is liable for the misconduct alleged.’” Lopez v. Beard, 333 F. App’x 685,

  687 (3d Cir. 2009) (quoting Iqbal, 556 U.S. at 678).

        Critically, courts deciding motions to dismiss should not accept and in fact

  should disregard bald assertions, untenable inferences, or unsupported legal

  conclusions disguised as factual allegations. See Twombly, 550 U.S. at 555 (“[A]

  plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires

  more than labels and conclusions, and a formulaic recitation of the elements of a

  cause of action will not do … [O]n a motion to dismiss, courts ‘are not bound to

  accept as true a legal conclusion couched as a factual allegation.’”).




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        A conclusory statement not supported with sufficient factual detail to lend that

  statement plausibility adds nothing to the sufficiency of the pleading. See Fowler v.

  UPMC Shadyside, 578 F.3d 203, 210-11 (3d Cir. 2009) (“After Iqbal, it is clear that

  conclusory or ‘bare-bones’ allegations will no longer survive a motion to dismiss.”);

  id. (court “must accept all of the complaint’s well-pleaded facts as true, but may

  disregard any legal conclusions”); Cohen v. Horizon Blue Cross Blue Shield of New

  Jersey, No. 13-03057, 2013 WL 5780815, at *8 (D.N.J. Oct. 25, 2013) (dismissing

  ERISA claim where “the complaint is draped with conclusory assertions that

  Horizon acted as a fiduciary and exercised discretionary authority [but] lacked

  specific facts to support the plausible inference that Horizon was, in fact, a

  fiduciary”).

        B.       Count I For ERISA Benefits Fails To State A Claim.
        Plaintiffs have failed to meet their basic pleading burden of alleging which

  terms of the Plans entitles them to relief under ERISA § 502(a)(1)(B). To state an

  ERISA claim for plan benefits, a plaintiff must demonstrate that he is entitled to

  “benefits due to him under the terms of his plan.” 29 U.S.C. § 1132(a)(1)(B).

  Because plan terms are “at the center of ERISA,” US Airways, Inc. v. McCutchen,

  569 U.S. 88, 100–01 (2013), an unescapable requirement of stating a benefits claim

  is first to “demonstrate that the benefits are actually ‘due’” under the plan—“that is,

  [the ERISA plaintiff] must have a right to benefits that is legally enforceable against


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  the plan[,]” Hooven v. Exxon Mobil Corp., 465 F.3d 566, 574 (3d Cir. 2006); see

  also Hein v. F.D.I.C., 88 F.3d 210, 215 (3d Cir. 1996) (“Only the words of the Plan

  itself can create an entitlement to benefits.”); MTD Opinion at 5.

        “Nothing in the [plans], ERISA, or the applicable case law interpreting ERISA

  confers a right upon [an out-of-network provider] . . . to demand anything other than

  the out-of-network allowance which [the plan sponsor] opted to underwrite as a

  benefit.” K.S. v. Thales USA, Inc., 2019 WL 1895064, at *5 (D.N.J. Apr. 29, 2019);

  see also Univ. Spine Ctr. v. Cigna Health & Life Ins. Co., No. 17-13596, 2018 WL

  4144684, at *3 (D.N.J. Aug. 29, 2018) (McNulty, J.) (“Univ. Spine Ctr. I”)

  (“join[ing] recent holdings of other judges of this district” in “emphasiz[ing] that an

  ERISA claim requires plaintiff to allege and prove an entitlement to ‘benefits due to

  him under the terms of his plan’”) (emphasis added); Advanced Rehab., LLC v.

  UnitedHealth Grp., Inc., No. 10-00263, 2011 WL 995960, at *2-3 (D.N.J. Mar. 17,

  2011) (Cavanaugh, J.) (listing, quoting, and summarizing the health plans under

  which a class of plaintiffs brought ERISA claims).

        Plaintiffs have not met their burden here. They have neither articulated any

  particular Plan language that would entitle them to the benefit they seek, nor have

  they articulated any plan language that was allegedly violated, both of which must

  be properly pled in order to survive a motion to dismiss. See Univ. Spine Ctr. I, 2018

  WL 4144684, at *3 (dismissing complaint for failure to identify pertinent plan


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  language or state why amount of reimbursement was wrong). In fact, the Plan

  expressly does not provide for the benefit sought here – reimbursement for services

  provided by an out-of-network provider. See ECF No. 15 ( Ex. C, SPD at 12-15);

  see also SAC ¶ 22.

        The first element in a claim for coverage is establishing that the plan (or

  insurance policy) grants coverage. See Pain & Surgery Ambulatory Ctr., P.C. v.

  Conn. Gen. Life Ins. Co., No. 11-5209, 2012 WL 3781516, at *7 (D.N.J. Aug. 30,

  2012), aff’d, 532 F. App’x 209 (3d Cir. 2013); Funicelli v. Sun Life Fin. (US) Servs.

  Co., No. 12-06659, 2014 WL 197911, at *3, 9 (D.N.J. Jan. 14, 2014). Plaintiffs here

  have not plausibly alleged that the Plan provides coverage for the service in question.

  Unless Plaintiffs can point to a provision of the Plan that has been violated, MTD

  Opinion at 7 n.11, which they fail to do here, there can be no cause of action under

  ERISA.

        First, the SAC contains the conclusory allegation that “[t]he Plan includes

  provisions to cover services of a non-network provided [sic] like Dr. Hartl.” SAC ¶

  13. The SAC fails to identify the specific Plan provision that provides coverage for

  such services, however. The Court should not give any weight to conclusory

  allegations. See Fowler, 578 F.3d at 210-11. And in fact, the Plan expressly does

  not cover out-of-network services. See ECF No. 15 (Ex. C, SPD at 12-15).




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          Second, Plaintiffs purport to rely on the Plan’s “Medical Management

  Program” to create a benefit provision on which to rely. SAC ¶ 14. In dismissing

  Plaintiffs’ prior pleading, however, this Court cautioned that “Plaintiffs . . . will need

  to sufficiently articulate how and why this provision entitles them to compensation

  under the Plan.” ECF No. 38 at 7 n.11 (emphasis added). Plaintiffs fail to do so

  here.

          The language quoted by Plaintiffs does not support their cause of action for

  benefits.   SAC ¶ 14.     The quoted language about the “Medical Management

  Program” describes the preauthorization process. Id. Although the Plan clearly only

  provides for reimbursement for services provided by an in-network provider or at an

  in-network facility, ECF No. 15 (Ex. C, SPD at 12-15), the preauthorization process

  is used to determine coverage for urgent/emergency services rendered by an out of

  network facility, see id. at 13 (providing coverage for “non-network” emergency

  room and ambulance services), or whether an in-network provider is available, see

  ECF No. 15 (Ex. B at 2 (identifying in-network providers)). Plaintiffs’ SAC admits

  that Cigna participated in the preauthorization process, SAC ¶¶ 13, 15, and therefore

  they cannot base their claim on an alleged violation of the Medical Management

  Program provision.

          Moreover, even if Plaintiffs had alleged that the preauthorization process did

  not occur, Plaintiffs have failed to allege that “benefits are due . . . under the terms


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  of [the] plan.” 29 U.S.C. § 1132(a)(1)(B). The first element in a claim for coverage

  is establishing that the plan (or insurance policy) grants coverage. See Pain &

  Surgery Ambulatory Ctr., P.C. v. Conn. Gen. Life Ins. Co., No. 11-5209, 2012 WL

  3781516, at *7 (D.N.J. Aug. 30, 2012), aff’d, 532 F. App’x 209 (3d Cir. 2013). The

  Plan expressly does not provide coverage for the benefit sought here –

  reimbursement for services provided by an out-of-network provider. See ECF No.

  15 (Ex. C, SPD at 12-15); see also SAC ¶ 22.

        Plaintiffs here have not plausibly alleged that the Plan provides coverage for

  the service in question, or that they are entitled to benefits, and this claim should be

  dismissed with prejudice accordingly.4

                                     CONCLUSION
        For reasons stated above, Cigna respectfully requests that this Court grant its

  motion to dismiss Plaintiffs’ Second Amended Complaint in its entirety, with

  prejudice.




  4
    See Ranke v. Sanofi-Synthelabo Inc., 436 F.3d 197, 206 (3d Cir. 2006) (if plaintiffs
  “had been in possession of facts that would have augmented [their] complaint and
  possibly avoided dismissal, [they] should have pled those facts in the first
  instance.”); Kanter v. Barella, 489 F.3d 170, 181 (3d Cir. 2007) (“Where an
  amended pleading would be futile, that alone is sufficient ground to deny leave to
  amend.”); Silver v. Pep Boys-Manny, Moe & Jack of Delaware, Inc., No.
  CV1700018FLWLHG, 2018 WL 1535285, at *4 n.3 (D.N.J. Mar. 29, 2018)
  (dismissing amended complaint with prejudice where amended complaint failed to
  address deficiencies in prior pleading).
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